Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 1 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 2 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 3 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 4 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 5 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 6 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 7 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 8 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
Case 7:19-cv-00231 Document 27-1 Filed on 04/22/21 in TXSD Page 9 of 9
                                                        Exhibit A to Defendant's
                                          Evidentiary Brief re: just compensation
